                    Case: 23-10921 Document: 22 Page: 1 Date Filed: 09/22/2023
127,&(2)FORM FOR APPEARANCE 6HH)LIWK&LU5XOH
Only attorneys admitted to the Bar of this Court PD\ practice before the Court. Each attorney representing a
party must complete a separate form. (COMPLETE ENTIRE FORM).
                              )LIWK&LU&DVHNO.          23-10921

NexPoint Asset Management, L.P.                                             vs. Highland Capital Management, L.P.
(6KRUW7LWOH)
The Clerk will enter my appearance as Counsel for Highland Capital Management, L.P.



______________________________________________________________________________________________________________
(Please list names of all parties represented, attach additional pages if necessary.)
The party(s) I represent IN THIS COURT                   Petitioner(s)           Respondent(s) Amicus Curiae

                                         Appellant(s)             ✔ Appellee(s)                                 Intervenor

   ✔ I certify that the contact information below is current and identical to that listed in my Appellate Filer
Account with PACER.
  /s/ Jeffrey N. Pomerantz                                                        jpomerantz@pszjlaw.com
(Signature)                                                                      (e-mail address)

 Jeffrey N. Pomerantz                                                             CA Bar No.143717
(Type or print name)                                                             (State/Bar No.)


(Title, if any)                                                                             ✔ Male                          Female

 Pachulski Stang Ziehl & Jones LLP
 @@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
(Firm or Organization)
Address                  10100 Santa Monica Blvd., 13th Floor

City & State Los Angeles, CA                                                                           Zip 90067

Primary Tel._ (310) 277-6910                   Cell Phone: (310) 489-0285
NOTE: When more than one attorney represents a single party or group of parties, counsel should designate a lead counsel. In
the event the court determines oral argument is necessary, lead counsel only will receive via e-mail a copy of the court's docket
and acknowledgment form. 2ther counsel PXVWPonitor the court's website for the posting of oral argument calendars.
Name of Lead Counsel: BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                           Jeffrey N. Pomerantz
A. Name of any Circuit Judge of the Fifth Circuit who participated in this case in the district or bankruptcy court.


B. Inquiry of Counsel. To your knowledge:
           (1) Is there any case now pending in this court, which involves the same, substantially the same, similar or related isssue(s)?
                                        Yes                           No
                                    ✔
           (2) Is there any such case now pending in a District Court (i) within this Circuit, or (ii) in a Federal Administrative Agency which
           would likely be appealed to the Fifth Circuit?
                                         Yes                          No
                                    ✔
           (3) Is there any case such as (1) or (2) in which judgment or order has been entered and the case is on its way to this Court by appeal,
           petition to enforce, review, deny?
                                          Yes
                                                                  ✔    No

         (4) Does this case qualify for calendaring priority under 5th Cir. R. 47.7? If so, cite the type of case
If answer to (1), or (2), or (3), is yes, please give detailed information. Number and Style of Related Case
   SEE ATTACHED


Name of Court or Agency

Status of Appeal (if any)_
Other Status (if not appealed)
NOTE: Attach sheet to give further details.                                                                         DKT-5A REVISED February 2017
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                            $WWDFKPHQWWR1RWLFHRI$SSHDUDQFH
1R

6KRUW7LWOHNexPoint Asset Management, L.P., formerly known as Highland
Capital Management Fund Advisors, L.P. vs. Highland Capital Management, L.P.

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     5HODWHGFDVHVQRZSHQGLQJLQWKLV&RXUW

      x James Dondero v. Highland Capital Management L.P.,1RRUDO
         DUJXPHQWKHOGRQ6HSWHPEHU

      x The Charitable DAF Fund, L.P., et al. v. Highland Capital Management,
         L.P.1RRUDODUJXPHQWKHOGRQ6HSWHPEHU
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      x NexPoint Advisors LP, et al. vs. Highland Capital Management, L.P.&DVH
         1REULHILQJRQJRLQJ
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       x NexPoint Asset Management, L.P., formerly known as Highland Capital
          Management Fund Advisors, L.P., et al. v. Highland Capital Management,
          L.P.1R
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      5HODWHGFDVHVQRZSHQGLQJLQDGLVWULFWFRXUWZKLFKZRXOGOLNHO\EHDSSHDOHG
    WRWKH)LIWK&LUFXLW

      x Highland Capital Management, L.P., et al. v. Highland Capital
         Management Fund Advisors L.P.1RUWKHUQ'LVWULFWRI7H[DV1RFY
          FRQVROLGDWHGFDVHVFYFYFYFY
         FY ZLWKUHVSHFWWRDSSHDORIOrder Denying Arbitration
         Request and Related ReliefVWD\HGSHQGLQJUHVROXWLRQRI&RQVROLGDWHG
         1RWHV/LWLJDWLRQ

      x The Charitable DAF Fund, L.P., et al. v. Highland Capital Management,
         L.P.1RUWKHUQ'LVWULFWRI7H[DV1RFYFDVHDEDWHGDQG
         DGPLQLVWUDWLYHO\FORVHGSHQGLQJUHVROXWLRQRIThe Charitable DAF Fund,
         L.P., et al. v. Highland Capital Management, L.P.1R

      x Highland Capital Management Fund Advisors, L.P., et al. vs. Highland
         Capital Management, L.P.1RUWKHUQ'LVWULFWRI7H[DV1RFY


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     x Dondero et al. v. Jernigan&DVH1RFY3HWLWLRQ)RU:ULWRI
        0DQGDPXVSHQGLQJ

     x Charitable DAF Fund LP, et al. vs. Highland Capital Management L.P.
        &DVH1RFYQRWLFHRIDSSHDOGRFNHWHG

     x Hunter Mountain Investment Trust vs. Highland Capital Management L.P.,
        et al.&DVH1RFYDPHQGHGQRWLFHRIDSSHDOGRFNHWHG

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